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                  EXHIBIT 11
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 1           UNITED STATES DISTRICT COURT

 2           FOR THE WESTERN DISTRICT OF NEW YORK

 3           ----------------------------------------------

 4           BLACK LOVE RESISTS IN THE RUST, et al.,
             individually and on behalf of a class of
 5           all others similarly situated,

 6                                         Plaintiffs,

 7            -vs-                                  1:18-cv-00719-CCR

 8           CITY OF BUFFALO, N.Y., et al.,

 9                                         Defendants.

10           ----------------------------------------------

11                   ORAL EXAMINATION OF PHILIP SERAFINI

12                           APPEARING REMOTELY FROM

13                            ERIE COUNTY, NEW YORK

14

15                          Monday, December 27, 2021

16                            9:03 a.m. - 5:15 p.m.

17                              pursuant to notice

18

19                PAGES 324 & 325 DESIGNATED CONFIDENTIAL

20

21           REPORTED BY:

22           Carrie A. Fisher, Notary Public

23           APPEARING REMOTELY FROM ERIE COUNTY, NEW YORK




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 1           R E M O T E        A P P E A R A N C E S

 2           APPEARING FOR THE PLAINTIFFS:

 3                   CENTER FOR CONSTITUTIONAL RIGHTS
                     BY:  A. CHINYERE EZIE, ESQ.
 4                   666 Broadway, 7th Floor
                     New York, New York 10012
 5                   (212) 614-6464

 6           APPEARING FOR THE DEFENDANTS:

 7                   CITY OF BUFFALO LAW DEPARTMENT
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 8                   ASSISTANT CORPORATION COUNSEL
                     1100 City Hall
 9                   65 Niagara Square
                     Buffalo, New York 14202
10                   (716) 851-4326

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                     PHILIP SERAFINI - BY MS. EZIE - 12/27/21


 1      Q. A n d w h y w a s t h a t i m p o r t a n t ?

 2      A. T h e B u f f a l o - - t h e B M H A w a n t e d m o r e p o l i c e

 3           presence.        When I say patrol, when I say the

 4           officers patrolled the housing properties,

 5           that was for more visibility in an effort to

 6           deter crime.

 7      Q. W h a t s t e p s o r s t r a t e g i e s d i d t h e H o u s i n g U n i t

 8           take to be highly visible?

 9                    MR. QUINN:          Form.

10      A. T h e y w e r e i n m a r k e d p o l i c e c a r s a n d t h e y d r o v e

11           through the housing properties, occasionally

12           stopping, talking to residents and also

13           attended community meetings within the housing

14           projects -- housing properties.

15      Q. A n d i s i t a c c u r a t e t h a t w i t h i n B M H A t h e

16           Housing Unit concentrated its activities on a

17           few main developments?

18                    MR. QUINN:          Form.

19      A. T h e y w e r e i n c h a r g e - - o r t h e y p a t r o l l e d a l l

20           of the Housing properties.                    Some Housing

21           properties demanded more attention, they're

22           larger than others, some were small so it

23           varied.




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                       PHILIP SERAFINI - BY MS. EZIE - 12/27/21


 1      Q. I s i t t r u e t h a t K e n f i e l d - L a n g f i e l d a n d S h a f f e r

 2           Village were BMHA properties that received

 3           special details or focus in the past?

 4      A. S o m e t i m e s .

 5                     MR. QUINN:           Form.

 6      Q. I ' m s o r r y .      You may answer.

 7      A. I s a i d s o m e t i m e s t h e y d i d , y e s .

 8      Q. O k a y .     Why was that?

 9      A. K e n f i e l d - L a n g f i e l d w a s t h e m o s t h e a v i l y

10           populated BMHA property, number one, and a lot

11           of the crimes, some of the serious crimes that

12           were committed on the properties were

13           committed in those two properties.

14      Q. O k a y .     Kenfield-Langfield, that's a BMHA

15           residence that's located on the east side of

16           Buffalo, correct?

17      A. T h a t ' s c o r r e c t .

18      Q. A n d m o s t o f K e n f i e l d - L a n g f i e l d ' s r e s i d e n c e s

19           are -- residents are Black or Latino?

20      A. I d o n ' t k n o w t h e m a k e u p o f a l l t h e r e s i d e n t s .

21      Q. I s i t f a i r t o s a y t h e r e i s a l a r g e p o p u l a t i o n

22           of Black and Latino residents at that BMHA

23           property?




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                       PHILIP SERAFINI - BY MS. EZIE - 12/27/21


 1           of the vehicles on days.                  That was under his

 2           purview so that's why I forwarded it to him.

 3      Q. G o t i t .     Now, isn't it -- is it true that

 4           through issuing summonses and impounds the

 5           officers you worked for did generate

 6           increasing revenue for the City and, for

 7           instance, the bureau of parking?

 8                     MR. QUINN:         Form.

 9      A. T h a t ' s c o r r e c t , y e s .

10      Q. O k a y .     Do you know how that increased revenue

11           was used?

12                     MR. QUINN:         Form.

13      A. I h a v e n o i d e a .

14      Q. D o y o u k n o w w h e t h e r t h e i n c r e a s e s t o y o u r

15           production helped make the case for overtime

16           for Strike Force officers?

17                     MR. QUINN:         Form.

18      A. I d o n ' t k n o w s p e c i f i c a l l y , n o .

19      Q. D o y o u c o n s i d e r - - d i d y o u c o n s i d e r o v e r t i m e

20           to be a reward for good work performed by your

21           officers?

22                     MR. QUINN:         Form.

23      A. D i d I c o n s i d e r i t t o b e a r e w a r d ?       No.




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